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Exhibit B

RLF 10363315yv,2
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

)
In re: ) Chapter |1
)
| ENERGY FUTURE HOLDINGS CORP., ef ai,’ ) Case No. 14 ¢-—--}- 10979 (CSS)
)
Debtors. )  tfolntAdministration- Reauesteds (Jointly

Administered
} Rex_Docket No, 40

ORDER AUTHORIZING CERTAIN OF THE DEBTORS TO ASSUME
STANDARD FORM MARKET PARTICIPANT AGREEMENTS WITH ERCOT

Upon the motion (the “Motion”) of the above-captioned debtors and debtors in
possession (collectively, the “Debtors”), for entry of an order (this “Order”), authorizing, but not
directing, the Debtors to assume certain SFAs executed by and between the SFA Debtors and
ERCOT; and upon the First Day Declaration; and the Court having found that ¢he-Courdt has
jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found
that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and the Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and the Court having :
found that the Debtors provided appropriate notice of the Motion and the opportunity for a

hearing on the Motion under the circumstances; and the Court having reviewed the Motion and

The last tour digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
| chapter 11 cases, for which the-debters-have-recested-joint administration_has been granted on_an interim basis,

a complete list of the debtors and the last four digits of their federal tax identification numbers is not provided
[ herein, A complete fist of such information may be obtained on the website of the debtors’ propaged-claims and
noticing agent at http://www.ethcaseinfo.com.

Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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having heard the statements in support of the relief requested therein at a hearing, if any, before
the Court (the-“Hearing”); and the Court having determined that the legal and factual bases set
forth in the Motion and at the Hearing establish just cause for the relief granted herein; and it
appearing that the assumption of the SFAs is an exercise of the Debtors’ sound business
judgment and the Debtors have provided adequate assurance of future performance; and upon all
of the proceedings had before the Court; and after due deliberation and sufficient cause
appearing therefor, it is HEREBY ORDERED THAT:

1. The Motion is granted as set forth herein.

2. Pursuant to sections 363 and 365 of the Bankruptcy Code, the SFA Debtors are
permitted to assume the SFAs listed on Exhibit 1 attached hereto.

3. ERCOT is authorized (but not directed) to draw upon the Letter of Credit in its

discretion: provided, however, that the Debtors shall notify proposed counsel to the Official

Committee of Unsecured Creditors within ten (10) business days if ERCOT has drawn upon the

Letter of Credit.

4, The Debtors have provided adequate assurance of future performance under the
SFAs.

5. Any claim of ERCOT under the SFAs arising before the date the Debtors
commenced their chapter 11 cases must be asserted by ERCOT against the Debtors during the
six (6) month period immediately following the date of this Order.

6. Notwithstanding the relief granted in this Order and any actions taken pursuant to
such relief, nothing in this Order shall be deemed a waiver or limitation of the rights of the

Debtors’ rightsestates under the Bankruptcy Code or any other applicable law. Payments made

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pursuant to this Order shall not be construed as an admission as to the validity of any claim or a

waiver of the rights of the Debtors’ rightsestates to subsequently dispute such claim.

7. Notice of the Motion as provided therein shall be deemed good and sufficient and
the requirements of the Local Bankruptcy Rules are satisfied by such notice,

8. Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,
9014 or otherwise, the terms and conditions of this Order shall be immediately effective and
enforceable upon its entry.

9, All time periods set forth in this Order shall be calculated in accordance with
Bankruptcy Rule 9006(a).

10. The Debtors are authorized to take afl actions necessary to effectuate the relief
granted pursuant to this Order in accordance with the Motion.

11. | The Court retains exclusive jurisdiction with respect to all matters arising from or
related to the implementation of this Order.

Wilmington, Delaware
Dated: ~~~ 2014

THE HONORABLE CHRISTOPHER 5. SONTCHE
UNITED STATES BANKRUPTCY JUDGE

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EXHIBIT 1-t0-EX ee

SFAs

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SFAs

Participant Agreement

Standard Form Market

4Change Energy
Company

‘January 1, 201 4

December 31, 2014

Standard Form Market
Participant Agreement

Big Brown Power
Company LLC

January 1, 2014

December 31, 2014

Standard Form Market
Participant Agreement

Luminant Energy
Company LLC

January 1, 2014

December 31, 2014

Standard Form Market
Participant Agreement

Luminant ET Services
Company

January 1, 2014

December 31, 2014

Standard Form Market
Participant Agreement

Luminant Generation
Company LLC

January 1, 2014

December 31, 2014

Standard Form Market
Participant Agreement

Oak Grove Management
Company LLC

January 1, 2014

December 31, 2014

Standard Form Market
Participant Agreement

Sandow Power Company
LLC

January 1, 2014

December 31, 2014

Standard Form Market
Participant Agreement

Tradinghouse Power
Company LLC

January 1, 2014

December 31, 2014

Standard Form Market
Participant Agreement

TXU Energy Retail
Company LLC

January 1, 2014

December 31, 2014

Standard Form Market
Participant Agreement

Valley NG Power
Company LLC

January 1, 2014

December 31, 2014

ERCOT is a party to each af the SFAs.

